       Case 6:03-cr-60006-RTD                Document 233          Filed 04/04/08          Page 1 of 1 PageID #: 28
hAO ?47 (0?/08) OrderReg{rdlngMoti0n fot Sentence
                                                Reduction


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                                 uurnnsrRrnsDtsrrucrcouwq$fltfr
                                                            for the
                                                  Westsrn District of Arkansas
                                                                                                            APRO'| 2OOE
                                                                                                                 B.Jdrtlsfii,otfBK
                                                                                                              cHBrs
                  UnitedStatesof Amerioa                                                          BY
                                                                                                                     DEFIJTY
                                                                                                                         CTERK
                                                                   CaseNo: 6:03CR60006-002
                    JamesMendenhall
                                                                   USMNo; 07273-010
Dateof PrcviousJudgment:April 20.2004                              DIO SE
(UscDarcofLast AmcndcdJudgrncnt
                              ifApplicablc)                    )   Defendart'sArtorney

          AmendedOrder RegardlngMotlon for SentenceReductlonPursuant to l8 U.S.C.$ 3582(c)(2)
                          /
       UoonmotionofdthedefendantDtheDirectoroftheBureauofPrisonsDthcoourtundorlSU,S,C.
g 35S2(c)i2)for a reductionin the termof imprisonmenr                                  rangothathas
                                                    imposedbasedon a guidclincsontonoing
subsequently beenloweredandmaderetroactiveby theUnitedStatesSentencing   Commissionpursuantto 28 U.S.C.
$       nnd
  994(u),    having considered  such motion,
IT IS ORDEREDthat the motioflis:
       D DENIED. /Gnnufno        ondthe defendant'spreviouslyimposedsentence             ($ rcflect€d
                                                                           of imprisonment         in
                                                                              months is rcduccd to                         'r49
                           the lEstjudgment
                                          issued)of

I. COIJRT DETERMINATION OF GUIDELINE RANGE (Priorto Any Depflrtures)
PreviousOffenseLevel:        33             Amended   OffenscLovcl:                                                 J I

CrirninalHistoryCategory:                   CriminalHistoryCatogory:                                                 I
PreviousGuidelineRanqe:   135 to 168 months Amended   Guideline  Ranse:                                      I08          to 135 months
TI. SENTENCERELATIVE TO AMENDED GUIDELINE RANGE
D fho roducodsentenceis within tho amendedguidelinerange.
61 Thopreviourtermof imprisonmentimposedwaslessthanthe guidelinerangeapplicabloto tho dofondantat the time
                                                                                is comparablylessthanthe
               asa resultofa departureor Rule 35 reduction,andthc roduoodsontenoo
   of sentencing
   amended guidelinerange.
i Other (cxplain):




III, ADDITIONALCOMMENTS
+Ifthe amountof timothoDefondanthasalrsady$srvedexceeds      this sentence,
                                                                          thesentenceis roducodto a "Time Served"
sentcnce,                                                               purposesofroleasingthedefendant.
         sutljootto an additionalperiodofup to ten dnysfor administrdtive



Exceptasprovidedabove,all provisionsofthejudgmentdated                 4/2012004 shallremainin effect.
IT IS SO ORDIRED.

OrderDate:        April 4-?008
                                                                                           Judgc'ssigndture


EffectiveDate:_
                   (ifdifieftnt ltom orderdete)                                          Printdd flffne and title
